Case 3:21-md-02981-JD Document 958-7 Filed 05/02/24 Page 1 of 2




                EXHIBIT F
4/29/24, 4:48 PM     Case 3:21-md-02981-JD
                                 Google.com Mail - Document          958-7
                                                   Exploratory initiative         Filed
                                                                          to mitigate    05/02/24
                                                                                      scams              Pageof2mobile
                                                                                            through sideloading  of 2apps


                                                                                       Eugene Liderman <eliderman@google.com>



  Exploratory initiative to mitigate scams through sideloading of mobile apps
  Henry TAN (CSA) <Henry_TAN@csa.gov.sg>                                                                   Tue, Aug 22, 2023 at 1:43 AM
  To: Eugene Liderman <eliderman@google.com>, Yinghui Tng <yinghuitng@google.com>


    Message Classification: Official (Closed)


    Dear Eugene/Android Security Team,



    Lately we observed a trend of financial scams leveraging on malicious mobile apps. The Modus Operandi (MO) is by and
    large tricking victims into sideloading mobile apps containing malware that leverage certain privilege permissions such as
    accessibility. With this privilege permission, scammers have been able to take control over the users’ phone, stealing
    sensitive information/credentials and carrying out fraudulent transactions, resulting in monetary losses suffered by the
    users.



    We see that fundamentally, this revolve around the ability for mobile apps to be sideloaded. As such, we would like to
    reach out to the Google’s Android team to explore initiatives that could better mitigate against such MO. Without being
    exhaustive, such exploratory initiative could include developing a custom Android OS/firmware for Singapore as an interim
    measure, that perhaps disallow sideloading or make sideloading more difficult, for instances, require users to enable
    developer’s option or imposing additional conditions for users before sideloading is permitted. Such custom Android could
    be rolled out as a proof of concept to selected users to determine usability and effectiveness, while at the same time,
    finetuning any specific parameters. CSA is also happy to explore with Google, a longer term measure that could permit
    legitimate use-cases for sideloading mobile apps.



    We would like to hear your thoughts and proceed with any follow up discussion with regards to this topic on mitigating
    against financial scams that leverage on sideloading of mobile apps.




                                                     Henry Tan | Deputy Director

                                                     Cybersecurity Engineering Centre
                                                     Cyber Security Agency of Singapore

                                                     MND Building, 5 Maxwell Road, #03-00, Tower Block, Singapore 069110

                                                     Tel: 63235044 | www.csa.gov.sg | Follow us on


    WARNING: This email may contain privileged and confidential information. If you receive this email by mistake, you should
    immediately notify the sender and delete the email. Unauthorised communication and disclosure of any information in the email is
    an offence under the Official Secrets Act (Cap 213).




https://mail.google.com/mail/u/0/?ik=b6e33cf6fd&view=pt&search=all&permmsgid=msg-f:1774906813300241906&simpl=msg-f:1774906813300241906   1/1
